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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

IN RE:                                                       Case No. 17-11893-BFK
CASSANDRA L. JOHNSON
       Debtor                                                Chapter 7
_______________________________
CITIMORTGAGE, INC.
       Movant
v.
CASSANDRA L. JOHNSON
       Debtor/Respondent
and
JANET M. MEIBURGER
       Trustee/Respondent

                    NOTICE OF VOLUNTARY WITHDRAWAL OF
                   MOTION FOR RELIEF FROM AUTOMATIC STAY

       COMES NOW, CitiMortgage, Inc. (the “Movant), by and through counsel, and hereby
withdraws, without prejudice, its Motion for Relief from the Automatic Stay filed on September
14, 2017 with respect to the real property known as 3908 Woodley Dr, Alexandria, VA 22309.

                                            Respectfully Submitted,


Dated: October 22, 2018                     /s/ Lauren French
                                            _________________________
                                            Lauren French VSB# 85478
                                            Attorney
                                            BWW Law Group, LLC
                                            8100 Three Chopt Rd.
                                            Suite 240
                                            Richmond, VA 23229
                                            (804) 282-0463 (phone)
                                            (804) 282-0541 (facsimile)
                                            bankruptcy@bww-law.com
                                            Attorney for the Movant
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                               CERTIFICATE OF SERVICE

       I certify that on this 22nd day of October, 2018, the following person(s) were or will be
served with a copy of the foregoing Notice of Withdrawal of Motion for Relief from the
Automatic Stay electronically via the CM/ECF system or by first class mail, postage prepaid:

Janet M Meiburger, Trustee
1493 Chain Bridge Road,Suite 201
Mclean, VA 22101-5726

Robert R Weed
1376 Old Bridge Rd, Suite 101-4
Woodbridge, VA 22192

Cassandra L. Johnson
3908 Woodley Drive
Alexandria, VA 22309



                                                   /s/ Lauren French
                                                   Lauren French VSB# 85478
                                                   Attorney
                                                   BWW Law Group, LLC
                                                   8100 Three Chopt Rd.
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                                                   Richmond, VA 23229
                                                   (804) 282-0463 (phone)
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                                                   bankruptcy@bww-law.com
                                                   Attorney for the Movant
